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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE

FedEx Supply Chain Logistics
__________________________________________
v.
                                                                2:22-cv-02684
                                                      Case No. _______________________
James Goodman
__________________________________________
                    SUMMONS AND NOTICE TO THE GARNISHEE

NOTICE: Although you have a longer time in which to answer the court concerning this
garnishment, you must do the following on the same day you receive the garnishment,
or on the next working day:
(1) Determine if you possess or control money or property of the judgment debtor.
(2) If so, within the same time period, you shall furnish a copy of this garnishment
summons, a copy of the Notice to Judgment Debtor (Form 6 if the garnishment is for
wages; Form 8 if the garnishment is not for wages), and a copy of the Notice to
Garnishee/Employer (Form 4), if the garnishment is for wages, by mailing them first
class, postage prepaid, to the judgment debtor’s last known address as shown by your
records, or by actual delivery to the judgment debtor.
(3) If the address shown by your records differs from that shown at the bottom of the
Notice to Judgment Debtor, you shall also mail a copy of the summons and notice(s) to
the latter address.

As required by law, T.C.A. § 26-2-204, you are summoned to mail an answer within ten
(10) days after the date of service of this garnishment to Clerk, U.S. District Court, 167
N. Main, Ste 242, Memphis, TN 38103. If you are an employer, you must read Form 4
and complete Form 5. If you are holding funds belonging to the judgment debtor other
than salaries, wages or earnings, you must complete Form 7.

FOR EMPLOYER GARNISHEE: This lien shall continue as to subsequent earnings until
the total amount due is paid or satisfied, OR until the expiration of the employer’s
payroll period immediately prior to six (6) CALENDAR MONTHS after service of this
garnishment, whichever occurs first. This lien shall have priority over any subsequent
liens obtained. Subsequent execution shall be effective for the successive calendar
month periods in the order in which they are served.

You are required to withhold the garnishment amount, or part thereof, from the
employee’s wages and to pay these monies not less than one time each calendar thirty
(30) days to: Clerk, U.S. District Court, 167 N. Main, Ste 242, Memphis, TN 38103. You
are liable for failure to withhold form the employee’s wages and for failure to pay these
monies to the Court.

FOR NON-WAGE GARNISHEE (e.g., financial institution): You are required to pay any
garnished funds within your possession within thirty (30) days of service to Clerk, U.S.
District Court, 167 N. Main, Ste 242, Memphis, TN 38103.

ISSUED this _________________ day of _____________________________, ______.

                                 UNITED STATES DISTRICT COURT CLERK

                                 By:________________________________________________
                                                  Deputy Clerk
                                                                              FORM 3
